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                 EXHIBIT 6
                                    Case
                                     Case21-32261
                                          1:21-cv-06479-VSB
                                                    Document 44-8  RP-2016-481296
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                                                                                                           10/25/2016               ER        $40.00




        UCC FINANCING STATEMENT
        FOLLOW INSTRUCTIONS
        A. NAME & PHONE OF CONTACT AT FILER (optional)
              Robert Hempstead, Esq.
         B. E-MAIL CONTACT AT FILER (optional)


        C. SEND ACKNOWLEDGMENT TO: (Name and Address)

             I Sills Cummis & Gross P.C.                                                                    7
                  One Riverfront Plaza
                  Newark, NJ 07102-5400
                                                                                                                                         I    Print         I I Reset I
                  Attention: Robert Hempstead, Esq.
             L                                                                                               _J
                                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
             name will not fit in line 1b, leave all of item 1 blank, check here   D and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
              1a. ORGANIZATION'S NAME
              KORNBLUTH TEXAS, LLC
        OR
              1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX



        1c. MAILING ADDRESS                                                                         CITY                                              STATE    IPOSTAL CODE                   COUNTRY

         302 W. Bay Area Boulevard                                                                   Webster                                           TX        77598                        USA
        2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
             name will not fit in line 2b, leave all of item 2 blank, check here   D   and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

              2a. ORGANIZATION'S NAME

(0
        OR
0)            2b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX
N
~
CX)     2c. MAILING ADDRESS                                                                         CITY                                              STATE    IPOSTAL CODE                   COUNTRY

vI
(0      3.   SECURED PARTY'S NAME                  (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only Q.!le. Secured Party name (3a or 3b)
~
              3a. ORGANIZATION'S NAME
0
N              RIALTO MORTGAGE FINANCE, LLC
    I   OR
              3b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX
0....
0::::
        3c. MAILING ADDRESS                                                                         CITY                                              STATE    IPOSTAL CODE                   COUNTRY

         600 Madison Avenue, 12th Floor                                                              New York                                         NY         10022                        USA
        4. COLLATERAL: This financing statement covers the following collateral:

         See Exhibit A and Exhibit B attached hereto and incorporated herein by reference.




        5. Check Qn!y if applicable and check Qn!y one box: Collateral is      D held in a Trust (see UCC1Ad, item 17 and Instructions) D being administered by a Decedent's Personal Representative
        6a. Check Qn!y if applicable and check Qn!y one box:                                                                                   6b. Check Qn!y if applicable and check Qn!y one box:

             D Public-Finance Transaction    D Manufactured-Home Transaction D A Debtor is a Transmitting Utility    D Agricultural Lien D Non-UCC Filing
        7. ALTERNATIVE DESIGNATION (if applicable): • Lessee/Lessor         D Consignee/Consignor     D Seller/Buyer   D Bailee/Bailor     D Licensee/Licensor
        8. OPTIONAL FILER REFERENCE DATA:
         To be filed in the Official Records of Harris County, Texas                                                                                                              [20590001.067]
                                                                                                                               International Association of Commercial Administrators /IACA)
        FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
                                   Case
                                    Case21-32261
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        UCC FINANCING STATEMENT ADDENDUM
        FOLLOW INSTRUCTIONS

        9. NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left blank
              because Individual Debtor name did not fit, check here   D
               9a. ORGANIZATION'S NAME

                KORNBLUTH TEXAS, LLC

        OR
               9b. INDIVIDUAL'S SURNAME



                   FIRST PERSONAL NAME                                                                                                I     Print         I I Reset I
                   ADDITIONAL NAME(S)/INITIAL(S)                                                               I SUFFIX

                                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full name;
               do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c

               10a. ORGANIZATION'S NAME


        OR
               10b. INDIVIDUAL'S SURNAME


                    INDIVIDUAL'S FIRST PERSONAL NAME


                    INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                               SUFFIX



        10c. MAILING ADDRESS                                                                                                                       ISTATE     IPOSTALCODE                    COUNTRY
(0                                                                                               ICITY
0)
N
~
        11.   0    ADDITIONAL SECURED PARTY'S NAME -or                          O ASSIGNOR SECURED PARTY'S NAME:                          Provide onlyQ.Il.e.name (11a or 11b)
CX)            11a. ORGANIZATION'S NAME
vI
        OR
(0             11b. INDIVIDUAL'S SURNAME                                                          FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX
~

0
N       11c. MAILING ADDRESS                                                                      CITY                                              STATE     IPOSTAL CODE                   COUNTRY
    I
0....
0::::   12. ADDITIONAL SPACE FOR ITEM 4 (Collateral):




        13. ~ This FINANCING STATEMENT is to be filed [for record] (or recorded) in the           14. This FINANCING STATEMENT:
                   REAL ESTATE RECORDS (if applicable)
                                                                                                      D covers timber to be cut D covers as-extracted collateral         ~ is filed as a fixture filing
        15. Name and address of a RECORD OWNER of real estate described in item 16                16. Description of real estate:
            (if Debtor does not have a record interest):
                                                                                                  302 West Bay Area Boulevard
                                                                                                  Webster, Harris County, TX

                                                                                                  See Exhibit A attached hereto.




        17. MISCELLANEOUS:


                                                                                             International Association of Commercial Administrators /IACA)
        FILING OFFICE COPY -               UCC FINANCING STATEMENT ADDENDUM (Form UCC1Ad) (Rev. 04/20/11)
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                                                 EXHIBIT A

                                              (Legal Description)

                                          302 West Bay Area Blvd
                                        Webster, Harris County, Texas



        Fee Parcel

        Tract 1:

        Unrestricted Reserve "C", Block 1, of One Bay Area Plaza, Harris County, Texas recorded under
        Film Code Number 612277 of the Map Records of Harris County, Texas; and

        Easement:

        TOGETHER WITH easement described in Easement Agreement, dated December 21, 2006,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in
        instrument(s) recorded at Harris County Clerk's File No. 20060296799 corrected by
        20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
(0      survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 161190.
0)
N
~       TOGETHER WITH easement described in Easement Agreement, dated dated December 6, 2007,
CX)
vI      executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in instrument
(0      recorded at Harris County Clerk's File No. 20070727577 of the Real Property Records of Harris
~

0
        County, Texas and ratified by N arendra Maran, as set forth in Ratification of Plat and Easement
N
    I
        Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
0....   County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
0::::   September 30, 2016; Job No. 161190.




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                                                    EXHIBITB

                            ATTACHED TO AND MADE A PART OF THAT
                            CERTAIN UCC-1 FINANCING STATEMENT BY
                               KORNBLUTH TEXAS, LLC ("DEBTOR"),
                 IN FAVOR OF RIALTO MORTGAGE FINANCE, LLC ("SECURED PARTY")

        This financing statement covers all right, title and interest of Debtor in and to the following
        described real and other property, together with all substitutions for and all replacements,
        reversions and remainders of such property and all appurtenances and additions thereto, whether
        now owned or hereafter acquired by Debtor (collectively, the "Property"):

                        (a)    Land. The real property described in Exhibit A attached hereto and made
        a part hereof (the "Land");

                       (b)    Additional Land. All additional lands, estates and development rights
        hereafter acquired by Debtor for use in connection with the Land and the development of the
        Land and all additional lands and estates therein which may, from time to time, by supplemental
        mortgage or otherwise be expressly made subject to the lien of this Security Instrument;

                        (c)    Improvements.        The buildings, structures, fixtures, additions,
        enlargements, extensions, modifications, repairs, replacements and improvements now or
(0
        hereafter erected or located on the Land (the "Improvements");
0)
N                       (d)     Easements. All easements, rights-of-way or use, rights, strips and gores of
~
CX)     land, streets, ways, alleys, passages, sewer rights, water, water courses, water rights and powers,
vI      air rights and development rights, and all estates, rights, titles, interests, privileges, liberties,
(0
~
        servitudes, tenements, hereditaments and appurtenances of any nature whatsoever, in any way
0       now or hereafter belonging, relating or pertaining to the Land and the Improvements and the
N
    I   reversion and reversions, remainder and remainders, and all land lying in the bed of any street,
0....
0::::   road or avenue, opened or proposed, in front of or adjoining the Land, to the center line thereof
        and all the estates, rights, titles, interests, dower and rights of dower, curtesy and rights of
        curtesy, property, possession, claim and demand whatsoever, both at law and in equity, of Debtor
        of, in and to the Land and the Improvements and every part and parcel thereof, with the
        appurtenances thereto;

                       (e)     Fixtures and Personal Property. All machinery, equipment, fixtures
        (including, but not limited to, all heating, air conditioning, plumbing, lighting, communications
        and elevator fixtures, inventory and goods), inventory and articles of personal property and
        accessions thereof and renewals, replacements thereof and substitutions therefor (including, but
        not limited to, beds, bureaus, chiffonniers, chests, chairs, desks, lamps, mirrors, bookcases,
        tables, rugs, carpeting, drapes, draperies, curtains, shades, venetian blinds, screens, paintings,
        hangings, pictures, divans, couches, luggage carts, luggage racks, stools, sofas, chinaware,
        linens, pillows, blankets, glassware, silverware, foodcarts, cookware, dry cleaning facilities,
        dining room wagons, keys or other entry systems, bars, bar fixtures, liquor and other drink
        dispensers, icemakers, radios, television sets, intercom and paging equipment, electric and
        electronic equipment, dictating equipment, private telephone systems, medical equipment, potted


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        plants, heating, lighting and plumbing fixtures, fire prevention and extinguishing apparatus,
        cooling and air-conditioning systems, elevators, escalators, fittings, plants, apparatus, stoves,
        ranges, refrigerators, laundry machines, tools, machinery, engines, dynamos, motors, boilers,
        incinerators, switchboards, conduits, compressors, vacuum cleaning systems, floor cleaning,
        waxing and polishing equipment, call systems, brackets, electrical signs, bulbs, bells, ash and
        fuel, conveyors, cabinets, lockers, shelving, spotlighting equipment, dishwashers, garbage
        disposals, washers and dryers), other customary hotel equipment and other tangible and all other
        property of every kind and nature whatsoever owned by Debtor, or in which Debtor has or shall
        have an interest, now or hereafter located upon the Land and the Improvements, or appurtenant
        thereto, and usable in connection with the present or future operation and occupancy of the Land
        and the Improvements and all building equipment, materials and supplies of any nature
        whatsoever owned by Debtor, or in which Debtor has or shall have an interest, now or hereafter
        located upon the Land and the Improvements, or appurtenant thereto, or usable in connection
        with the present or future operation and occupancy of the Land and the Improvements
        (collectively, the "Personal Property"), and the right, title and interest of Debtor in and to any of
        the Personal Property which may be subject to any security interests, as defined in the Uniform
        Commercial Code, as adopted and enacted by the State or States where any of the Property is
        located (the "Uniform Commercial Code"), superior in lien to the lien of this Security Instrument
        and all proceeds and products of the above;

                         (f)     Leases and Rents. All leases, subleases, rental agreements, registration
        cards and agreements, if any, and other agreements, whether or not in writing, affecting the use,
(0      enjoyment or occupancy of the Land and/or the Improvements heretofore or hereafter entered
0)      into and all extensions, amendments and modifications thereto, whether before or after the filing
N
~       by or against Debtor of any petition for relief under the Bankruptcy Code (the "Leases") and all
CX)
vI      right, title and interest of Debtor, its successors and assigns therein and thereunder, including,
(0      without limitation, any guaranties of the lessees' obligations thereunder, cash or securities
~
        deposited thereunder to secure the performance by the lessees of their obligations thereunder and
0
N       all rents, additional rents, payments in connection with any termination, cancellation or surrender
    I
0....   of any Lease, revenues, issues registration fees, if any and profits (including all oil and gas or
0::::   other mineral royalties and bonuses) from the Land and/or the Improvements, all income, rents,
        room rates, issues, profits, revenues, deposits, accounts and other benefits from the operation of
        the hotel on the Land and/or the Improvements, including, without limitation, all revenues and
        credit card receipts collected from guest rooms, restaurants, bars, mini-bars, meeting rooms,
        banquet rooms and recreational facilities and otherwise, all receivables (including Accounts
        Receivable), customer obligations, installment payment obligations and other obligations now
        existing or hereafter arising or created out of sale, lease, sublease, license, concession or other
        grant of the right of the possession, use or occupancy of all or any portion of the Land and/or
        Improvements, or personalty located thereon, or rendering of services by Debtor or any operator
        or manager of the hotel or the commercial space located in the Improvements or acquired from
        others including, without limitation, from the rental of any office space, retail space, commercial
        space, guest room or other space, halls, stores or offices, including any deposits securing
        reservations of such space, exhibit or sales space of every kind, license, lease, sublease and
        concession fees and rentals, health club membership fees, food and beverage wholesale and retail
        sales, service charges, vending machine sales and proceeds, if any, from business interruption or
        other loss of income insurance relating to the use, enjoyment or occupancy of the Land and/or
        the Improvements whether paid or accruing before or after the filing by or against Debtor of any


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        petition for relief under the Bankruptcy Code and all proceeds from the sale or other disposition
        of the Leases (the "Rents") and the right to receive and apply the Rents to the payment of the
        Debt;

                        (g)     Condemnation Awards. All awards or payments, including interest
        thereon, which may heretofore and hereafter be made with respect to the Property, whether from
        the exercise of the right of eminent domain (including but not limited to any transfer made in lieu
        of or in anticipation of the exercise of the right), or for a change of grade, or for any other injury
        to or decrease in the value of the Property;

                       (h)    Insurance Proceeds. All proceeds of and any unearned premiums on any
        insurance policies covering the Property, including, without limitation, the right to receive and
        apply the proceeds of any insurance, judgments, or settlements made in lieu thereof, for damage
        to the Property;

                        (i)     Tax Certiorari. All refunds, rebates or credits in connection with a
        reduction in real estate taxes and assessments charged against the Property as a result of tax
        certiorari or any applications or proceedings for reduction;

                       (j)     Conversion. All proceeds of the conversion, voluntary or involuntary, of
        any of the foregoing including, without limitation, proceeds of insurance and condemnation
        awards, into cash or liquidation claims;
(0
0)                     (k)     Rights. The right, in the name and on behalf of Debtor, to appear in and
N       defend any action or proceeding brought with respect to the Property and to commence any
~
CX)     action or proceeding to protect the interest of Secured Party in the Property;
vI
(0                      (1)     Agreements.      All agreements, contracts, certificates, instruments,
~

0       franchises, permits, licenses, plans, specifications and other documents, now or hereafter entered
N       into, and all rights therein and thereto, respecting or pertaining to the use, occupation,
    I
0....   construction, management or operation of the Land and any part thereof and any Improvements
0::::   or respecting any business or activity conducted on the Land and any part thereof and all right,
        title and interest of Debtor therein and thereunder, including, without limitation, the right, upon
        the happening of any default hereunder, to receive and collect any sums payable to Debtor
        thereunder;

                      (m)     Intangibles. All trade names, trademarks, servicemarks, logos, copyrights,
        goodwill, books and records, tenant or guest lists, advertising materials, telephone exchange
        numbers identified in such materials and all other general intangibles relating to or used in
        connection with the operation of the Property;

                        (n)    Accounts. All accounts, account collateral, reserves, escrows and deposit
        accounts maintained by Debtor with respect to the Property including, without limitation, the
        Clearing Account and the Cash Management Account, and all complete securities, investments,
        property and financial assets held therein from time to time and all proceeds, products,
        distributions or dividends or substitutions thereon and thereof;




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                         (o)    Causes of Action. All causes of action and claims (including, without
        limitation, all causes of action or claims arising in tort, by contract, by fraud or by concealment
        of material fact) against any Person for damages or injury to the Property or in connection with
        any transactions financed in whole or in part by the proceeds of the Loan ("Cause of Action");
        and

                        (p)     Accounts Receivables. All right, title and interest of Debtor arising from
        the operation of the Land and the Improvements in and to all payments for goods or property
        sold or leased or for services rendered, whether or not yet earned by performance, and not
        evidenced by an instrument or chattel paper, (hereinafter referred to as "Accounts Receivable")
        including, without limiting the generality of the foregoing, (i) all accounts, contract rights, book
        debts, and notes arising from the operation of a hotel on the Land and the Improvements or
        arising from the sale, lease or exchange of goods or other property and/or the performance of
        services, (ii) Debtor's rights to payment from any consumer credit/charge card organization or
        entities which sponsor and administer such cards as the American Express Card, the Visa Card
        and the Mastercard, (iii) Debtor's rights in, to and under all purchase orders for goods, services
        or other property, (iv) Debtor's rights to any goods, services or other property represented by any
        of the foregoing, (v) monies due to or to become due to Debtor under all contracts for the sale,
        lease or exchange of goods or other property and/or the performance of services including the
        right to payment of any interest or finance charges in respect thereto (whether or not yet earned
        by performance on the part of Debtor) and (vi) all collateral security and guaranties of any kind
        given by any person or entity with respect to any of the foregoing. Accounts Receivable shall
(0      include those now existing or hereafter created, substitutions therefor, proceeds (whether cash or
0)      non-cash, movable or immovable, tangible or intangible) received upon the sale, exchange,
N
~       transfer, collection or other disposition or substitution thereof and any and all of the foregoing
CX)
vI      and proceeds therefrom; and
(0
~                      (q)     Other Rights. Any and all other rights of Debtor in and to the items set
0
N       forth in Subsections (a) through (p) above.
    I
0....
0::::   This UCC-1 Financing Statement is filed in connection with a certain Deed of Trust, Assignment
        of Leases and Rents and Security Agreement (the "Security Instrument"), securing payment of a
        note of even date in the total principal sum of $8,350,000.00, given by Debtor to Russ Toates, as
        Trustee, for the benefit of Secured Party covering the estate of Debtor in the Property and
        intended to be duly recorded in the Official Records of Harris County, Texas. Capitalized terms
        not defined herein shall have the same meaning as set forth in the Security Instrument and the
        Loan Agreement between Debtor and Secured Party, as applicable.




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                  10/25/2016 01:02 PM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  STAN STANART
                  COUNTY CLERK
                  Fees   $40.00




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CX)
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    I
0....            RECORDERS MEMORANDUM
0::::            This instrument was received and recorded electronically
                 and any blackouts, additions or changes were present
                 at the time the instrument was filed and recorded.




                 Any provision herein which restricts the sale, rental, or
                 use of the described real property because of color or
                 race is invalid and unenforceable under federal law.
                 THE STATE OF TEXAS
                 COUNTY OF HARRIS
                 I hereby certify that this instrument was FILED in
                 File Number Sequence on the date and at the time stamped
                 hereon by me; and was duly RECORDED in the Official
                 Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
